
PER CURIAM.
T.R., the Mother of D.Y. and J.R., appeals an order terminating her parental rights. We affirm on all grounds, including the Mother’s argument that we should reverse due to the alleged ineffectiveness of her trial counsel. Even if the ineffectiveness argument is cognizable in this direct appeal, the record does not contain sufficient information to enable us to determine the merits of the claim. See L.H. v. Dep’t of Children &amp; Families (In re *346R.H.), 995 Solid 583 (Fla. 5th DCA 2008).1
Affirmed.
DAVIS, SILBERMAN, and VILLANTI, JJ., Concur.

. Our decision should not be interpreted as resolving the question of whether an ineffectiveness of counsel claim may, in fact, be brought in a direct appeal in a termination case.

